                                   Case 6:19-bk-06866-KSJ                      Doc 1      Filed 10/21/19             Page 1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                          Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this is an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                    About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on      Daniel                                                            Pamela
     your government-issued         First name                                                        First name
     picture identification (for
     example, your driver's         V
     license or passport).          Middle name                                                       Middle name
     Bring your picture
     identification to your
                                    Narine                                                            Narine
     meeting with the trustee.      Last name and Suffix (Sr., Jr., II, III)                          Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                         Pamela Swamy Narine
                                                                                                      Pamela S Narine
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal              xxx-xx-1825                                                       xxx-xx-6358
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 1
                                 Case 6:19-bk-06866-KSJ                     Doc 1         Filed 10/21/19         Page 2 of 9
Debtor 1   Daniel V Narine
Debtor 2   Pamela Narine                                                                                Case number (if known)




                                  About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have          I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and      Business name(s)                                               Business name(s)
     doing business as names

                                  EINs                                                           EINs




5.   Where you live                                                                              If Debtor 2 lives at a different address:

                                  2250 Oak Hammock Preserve Blvd.                                9012 Sutter Ave
                                  Kissimmee, FL 34746                                            Ozone Park, NY 11417
                                  Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                  Osceola                                                        Queens
                                  County                                                         County

                                  If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it
                                  above, fill it in here. Note that the court will send any      in here. Note that the court will send any notices to this
                                  notices to you at this mailing address.                        mailing address.



                                  Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing         Check one:                                                     Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,             Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any                have lived in this district longer than in any other
                                         other district.                                                 district.

                                         I have another reason.                                          I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 2
                                Case 6:19-bk-06866-KSJ                        Doc 1      Filed 10/21/19            Page 3 of 9
Debtor 1    Daniel V Narine
Debtor 2    Pamela Narine                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 6:19-bk-06866-KSJ                   Doc 1         Filed 10/21/19             Page 4 of 9
Debtor 1    Daniel V Narine
Debtor 2    Pamela Narine                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time          No.      Go to Part 4.
    business?
                                       Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under            If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the               deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are         operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business            in 11 U.S.C. 1116(1)(B).
    debtor?
                                       No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                       No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                                Code.

                                       Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any             No.
    property that poses or is
    alleged to pose a threat           Yes.
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                   Case 6:19-bk-06866-KSJ                     Doc 1          Filed 10/21/19       Page 5 of 9
Debtor 1    Daniel V Narine
Debtor 2    Pamela Narine                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                            You must check one:
    you have received a                  I received a briefing from an approved credit                  I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a               this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                     completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                  I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have              this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                   of completion.
     file.
                                         Within 14 days after you file this bankruptcy                  Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and          MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                          any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                      from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                   those services during the 7 days after I made my
                                         days after I made my request, and exigent                      request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                  temporary waiver of the requirement.
                                         of the requirement.
                                                                                                        To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                    attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why              before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for              circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                        with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                     filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                      If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must          receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.        file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                  copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you              not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                        Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                        cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                         credit counseling because of:                                  counseling because of:

                                               Incapacity.                                                    Incapacity.
                                               I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                               making rational decisions about finances.                      decisions about finances.

                                               Disability.                                                    Disability.
                                               My physical disability causes me to be                         My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I                through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                     do so.

                                               Active duty.                                                   Active duty.
                                               I am currently on active military duty in a                    I am currently on active military duty in a military
                                               military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.            of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 5
                                Case 6:19-bk-06866-KSJ                     Doc 1        Filed 10/21/19             Page 6 of 9
Debtor 1    Daniel V Narine
Debtor 2    Pamela Narine                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Daniel V Narine                                               /s/ Pamela Narine
                                 Daniel V Narine                                                   Pamela Narine
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     October 21, 2019                                  Executed on     October 21, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                Case 6:19-bk-06866-KSJ                     Doc 1       Filed 10/21/19              Page 7 of 9
Debtor 1   Daniel V Narine
Debtor 2   Pamela Narine                                                                                   Case number (if known)




For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one               under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by    and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need     schedules filed with the petition is incorrect.
to file this page.
                                 /s/ A Clifton Black                                                Date         October 21, 2019
                                 Signature of Attorney for Debtor                                                MM / DD / YYYY

                                 A Clifton Black
                                 Printed name

                                 A Clifton Black
                                 Firm name

                                 815 Mabbette Street
                                 Suite 102
                                 Kissimmee, FL 34741
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     407-932-1115                               Email address         cblack@cliftonblack.com
                                 145837 FL
                                 Bar number & State




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                        Case 6:19-bk-06866-KSJ   Doc 1     Filed 10/21/19   Page 8 of 9



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Daniel V Narine                        Bank of NY Mellon                      Delta Internal Med Center PA
2250 Oak Hammock Preserve Blvd.        c/o Van Ness Law Firm PLC              220 East Gore St.
Kissimmee, FL 34746                    1239 E. Newport Center Drive           Orlando, FL 32806
                                       Suite 110
                                       Deerfield Beach, FL 33442

Pamela Narine                          Barclays Bank Delaware                 Deptartment Store Nat Bank/Macy'
9012 Sutter Ave                        Attn: Correspondence                   Attn: Bankruptcy
Ozone Park, NY 11417                   Po Box 8801                            9111 Duke Boulevard
                                       Wilmington, DE 19899                   Mason, OH 45040



A Clifton Black                        Capital Accounts                       Enhanced Recovery Corp.
A Clifton Black                        Attn: Bankruptcy Dept                  8014 Bayberry Road
815 Mabbette Street                    Po Box 140065                          Jacksonville, FL 32256-7412
Suite 102                              Nashville, TN 37214
Kissimmee, FL 34741

Addition Financial                     Capital One                            First Federal Credit Control
Attn: Bankruptcy Dept                  Attn: Bankruptcy                       Attn: Bankruptcy
1000 Primera Blvd                      Po Box 30285                           24700 Chagrin Blvd, Ste 205
Lake Mary, FL 32746                    Salt Lake City, UT 84130               Cleveland, OH 44122



Addition Financial Cu                  Capital One Auto Finance               GEICO
1200 Weber St                          Attn: Bankruptcy                       One GEICO Center
Orlando, FL 32803                      Po Box 30285                           Macon, GA 31296-0001
                                       Salt Lake City, UT 84130



Additn Fi Cu                           Chase Bank                             Gregory Weber
1200 Weber St                          OH1-1188                               88-11 107 Ave
Orlando, FL 32803                      340 South Cleveland Avenue             Ozone Park, NY 11417
                                       Building 370
                                       Westerville, OH 43081

Affinity Federal Credit                Credit Card Services                   Jamaica Hospital
73 Mountainview Blvd.                  Attn: Bankruptcy Dept                  8900 Van Wyck Expressway
Basking Ridge, NJ 07920                P. O. Box 7054                         Richmond Hill, NY 11418
                                       Bridgeport, CT 06601



Affinity Federal Credit Union          Credit Control, LLC                    John DiMasi, Esq.
Attn: Bankruptcy                       P.O. Box 546                           801 North Orange Avenue
73 Mountainview Boulevard              Hazelwood, MO 63042                    Suite 500
Basking Ridge, NJ 07920                                                       Orlando, FL 32801



Ajaz Afzal, MD                         Credit One Bank                        Leland Management Inc
1032 Mann Street                       Attn: Bankruptcy Department            5955 TG Lee Blvd
Kissimmee, FL 34741                    Po Box 98873                           #300
                                       Las Vegas, NV 89193                    Orlando, FL 32822
                       Case 6:19-bk-06866-KSJ   Doc 1      Filed 10/21/19   Page 9 of 9




Liberty Mutual                        Portfolio Recovery                      Synchrony Bank/TJX
c/o Credit Collection Srvc            Attn: Bankruptcy                        Attn: Bankruptcy Dept
725 Canton Street                     120 Corporate Blvd                      Po Box 965060
Norwood, MA 02062                     Norfold, VA 23502                       Orlando, FL 32896



Midland Funding LLC                   Portfolio Recovery Assoc LLC            TD Bank, N.A.
8875 Aero Drive                       P.O. Box 12914                          32 Chestnut Street
Suite 200                             Norfolk, VA 23541                       Po Box 1377
San Diego, CA 92123                                                           Lewiston, ME 04243



Nissan Motor Acceptanc                Santander Consumer USA                  USDOE/GLELSI
                                      Attn: Bankruptcy                        Attn: Bankruptcy
                                      10-64-38-Fd7 601 Penn St                Po Box 7860
                                      Reading, PA 19601                       Madison, WI 53707



Nissan Motor Acceptance               Spectrum                                Waypoint Resource Group
Attn: Bankruptcy                      4257 Daubert St                         Attn: Bankruptcy
Po Box 660360                         Orlando, FL 32803                       301 Sundance Pwy
Dallas, TX 75266                                                              Round Rock, TX 78681



Northwest Federal Cr                  Syncb/Gap
Pob 1229                              Attn: Bankruptcy
Herndon, VA 20170                     Po Box 965060
                                      Orlando, FL 32896



NYU Langone Health                    Synchrony Bank/ JC Penneys
550 First Avenue                      Attn: Bankruptcy
New York, NY 10016                    Po Box 956060
                                      Orlando, FL 32896



Orlando Health                        Synchrony Bank/Care Credit
Attn: Customer Care                   Attn: Bankruptcy Dept
3090 Caruso Court                     Po Box 965060
Suite 20, MP 15                       Orlando, FL 32896
Orlando, FL 32806

Pathology Specialists, P.A.           Synchrony Bank/Lord & Taylor
84 W Jersey Street                    Attn: Bankruptcy Department
Suite 1                               P.O. Box 965060
Orlando, FL 32806                     Orlando, FL 32896-5060



Pollack & Rosen, PA                   Synchrony Bank/Sams
806 Douglas Road                      Attn: Bankruptcy
Suite 200                             Po Box 965060
Coral Gables, FL 33134                Orlando, FL 32896
